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|N THE UN|TED STATES D|STR|CT COURT

FOR THE NORTHERN D|STR|CT OF CAL|FORN|A

lN RE CATHODE RAY TUBE (CRT) ANTITRUST IV|DL NO 1917
LlTlGATlON
i\/|aster Case No 3:07-cv-05944-SC

Thi$ Ord€l' Re|at€$ tOi individual Case No 3:11-cv-05514-SC

ORDER RE THOMSON'S MOT|ON TO
REINSTATE ECF NO 3914 RE SEARS'
individual Case No 11-cv-05514-SC PRIVATE LABEL D|SCOVERY

Sears, Roebuck and Co & Kmart Corp

v Chunghwa Picture Tubes, Ltd, et a/.

 

 

On August 3, 2015, the Thomson Defendants moved to reinstate the Ju|y 14,
2015 Report and Recommendation (”Ju|y 14, 2015 R&R" or ”ECF No 3914") granting in part

Toshiba's 9/12/14 motion to compel a response to |nterrogatory No 9 by providing the names

ORDER RE THOMSON'S |V|OT|ON TO RE|NSTATE ECF NO 3914 RE SEARS' PR|VATE LABEL D|SCOVERY PAGE 1 OF 4

 

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of‘the five highest-ranking Sears employees responsible for conducting, implementing or
directing Sears' LX| private-label program during the relevant period.

Since the July 14, 2015 R&R (ECF No 3914) issued, Toshiba and Sears filed their
stipulated dismissal with prejudice of all claims. ECF No 3831. On July 28, 2015, based on the
parties' stipulation withdrawing Toshiba’s l\/|otion to Compel and requesting denial of the luly
14, 2015 R&R as moot, Judge Conti denied the July 14, 2015 R&R as moot. ECF No 3938. This
order and Sears' refusal to provide the ordered discovery precipitated Thomson's motion.

The Discovery Protocol requires coordination of discovery in this multi-district
litigation (ECF No 1128). On August 24, 2015, the undersigned issued a report and
recommendation construing the Discovery Protocol as allowing parties that remain in the
litigation to continue with discovery motions filed by settling parties. That report
recommended: ”Toshiba's 9/12/14 motion to compel Sears/Kmart to provide additional
discovery regarding their private label program" be ”deemed pending or at issue
notwithstanding the filing party’s settlement or withdrawal of its role in the motion." ECF No
4015 at 5. On September 11, 2015, Judge Conti adopted ECF No 4015. ECF No 4054. implicit in
the court's adoption of ECF No 4015 was that Toshiba’s 9/12/14 motion to compel private label
discovery from Sears/Kmart remained pending and that Sears should comply with ECF No 3914.

|n the meantime, on August14, 2015, Sears' counsel sent a letter to the
undersigned objecting to reinstatement of ECF No 3914 on the ground that ”because Sears's
relevant interrogatory response that was the subject of Toshiba’s motion to compel did
incorporate of [sic] the names of the five highest-ranking employees responsible for
conducting, implementing, or directing Sears's LX| private- label program during the relevant
period, no further action by the Court is necessary, and the Court should deny Defendants'
request." Opposition at 1-2. Having reviewed ECF No 3914 and Sears' interrogatory response
and incorporated Rule 30(b)(6) testimony, the undersigned understands Sears' position but

finds it incorrect.

ORDER RE THOl\/lSON'S MOT|ON TO RE|NSTATE ECF NO 3914 RE SEARS' PR|VATE LABEL D|SCOVERY PAGE 2 OF 4

 

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The July 14, 2015 R&R ordered as follows:

”Toshiba's motion to compel is GRANTED in part. Plaintiffs are ordered to
provide the names of the five highest-ranking employees responsible for conducting,
implementing or directing Sears' LX| private-label program during the relevant period.
Toshiba’s motion is DEN|ED in all other respects." ECF No 3914 at 8.

Sears correctly contends that its Response to interrogatory No 9 refers to its Rule
30(b)(6) deposition testimony: ”Plaintiffs further refer [Toshiba] to the Rule 30(b)(6) deposition
testimony and to the deposition testimony of Glenna Hess on this exact topic." Exhibit A at 5.
But this reference does not respond to the interrogatory’s inquiry.

The portions of the Rule 30(b)(6) deposition testimony that Sears relies upon fail
to disclose the five highest-ranking employees responsible for conducting, implementing or
directing Sears' LX| private-label program during the relevant period. Sears' contention that its
response ”incorporate[d]" the names of the five highest-ranking individuals stretches what, in
fact, Sears has provided. l\/lerely incorporating deposition testimony that provides the names
of more than five employees having managerial or vice presidential titles simply does not
answer the question posed.

Contrary to Sears' contention that the information ordered by the R&R has
already been provided, a review of Sears' submissions and responses to interrogatory No 9
discloses that the information ordered has not been provided. Sears' opposition does not
admit that the five named individuals were the five highest-ranking Sears employees
responsible for conducting, implementing or directing Sears' LX| private-label program during
the relevant period. |f the five named persons are the five highest-ranking Sears employees

with such responsibilities during the relevant time period, Sears should so state. Otherwise,

ORDER RE THO|V|SON'S MOT|ON TO RE|NSTATE ECF NO 3914 RE SEARS' PR|VATE LABEL D|SCOVERY PAGE 3 OF 4

 

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Sears should provide the names of those five highest-ranking employees.1 Providing those
names together with any required explanation in responsive sentences would have been far

easier than opposing Thomson's motion.

CONCLUS|ON
The defendants' motion to reinstate ECF No 3914 (Juiy 14, 2015 R&R) is
GRANTED. Sears shall serve a supplemental interrogatory response to interrogatory No 9 as

ordered in ECF No 3914 no later than October 15, 2015.

lT lS SO ORDERED.

Date: October 7, 2015 W/\/
°r \§

Vaughn R Wa|ker
United States District Judge (Ret)

 

The Recommended Order of the Special Master is Accepted and Ordered / Denied / |\/iodified.

Date:

 

Honorable Samuel Conti
United States District ludge

 

1 The undersigned understands that the term ”five highest-ranking employees responsible for"
involves some subjectivity in selecting individuals. The point of the ordered interrogatory response is to
determine the individuals with the greatest responsibility for Sears' private label program during the
relevant period.

ORDER RE THOMSON'S l\/lOTlON TO RE|NSTATE ECF NO 3914 RE SEARS' PR|VATE LABEL D|SCOVERY PAGE 4 OF 4

 

